                            UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                  NO. 5:14-CR-240-BR


UNITED STATES OF AMERICA                       )
                                               )
                v.                             )     ORDER
                                               )
WILLIAM SCOTT DAVIS, JR.                       )
                                               )


       On 23 December 2015, the court denied all of defendant’s pro se motions, with the

exception of two motions for appointment of new counsel, DE ## 151, 214, because he is

represented by counsel. (DE # 216.) Further, the court directed the Clerk to enter any future

pro se motion on the docket and terminate it without further order of the court, other than a

motion for appointment of new counsel. (Id.) Since that time, the court has found that

defendant is presently suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense and committed him to the custody of

the Attorney General for treatment. (DE # 267.) In the meantime, defendant has filed pro se

multiple motions pertaining to the appointment of counsel, among other things, and requests for

copies of various documents. Because defendant is represented by counsel and because the

issue of appointment of new counsel will be preserved for further review, all pending pro se

motions are DENIED except DE ## 151, 214. As for any future motion that defendant may file

pro se, the Clerk is DIRECTED to enter the motion on the docket and terminate it without

further order of the court. The Clerk need not respond to any copy request from defendant pro




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se.

      This 5 May 2016.




                              __________________________________
                                          W. Earl Britt
                                          Senior U.S. District Judge




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